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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Mesa Digital LLC
                                 Plaintiff,
v.                                                   Case No.: 1:18−cv−00921
                                                     Honorable Thomas M. Durkin
Blackberry Corporation
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 17, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:Plaintiff's motion for
extension of time for defendant to answer or otherwise plead [9] is denied. Counsel is
directed to review this Court's 2/27/2018 order. No responsive pleading is to be filed until
an informal patent conference is held. No appearance is required on 4/19/2018. Mailed
notice(srn, )




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